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                         UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

                                                          )
    ERICA LAFFERTY; DAVID WHEELER;                        )
    FRANCINE WHEELER; JACQUELINE                          )
    BARDEN; MARK BARDEN; NICOLE                           )   ADV. PROC. NO. 22-05004
    HOCKLEY; IAN HOCKLEY; JENNIFER                        )
    HENSEL; JEREMY RICHMAN; DONNA                         )
    SOTO; CARLEE SOTO-PARISI; CARLOS                      )   May 9, 2022
    M. SOTO; JILLIAN SOTO; AND WILLIAM                    )
    ALDENBERG,                                            )
                                                          )
         Plaintiffs,                                      )
                                                          )
    v.                                                    )
                                                          )
    ALEX EMRIC JONES; INFOWARS, LLC;                      )
    FREE SPEECH SYSTEMS, LLC;                             )
    INFOWARS HEALTH, LLC; PRISON                          )
    PLANET TV, LLC; WOLFGANG                              )
    HALBIG; CORY T. SKLANKA; GENESIS                      )
    COMMUNICATIONS NETWORK, INC.;                         )
    and MIDAS RESOURCES, INC.,                            )
                                                          )
             Defendants.                                  )

                          MOTION TO WITHDRAW AS COUNSEL

         Pursuant to Local Bankr. R. 9083-4 and D. Conn. L. Civ. R. 7(e), the undersigned

respectfully moves for permission to withdraw as counsel for Defendants Alex Jones,

Free Speech Systems, InfoW, LLC (f/k/a Infowars, LLC), IWHealth, LLC (f/k/a Infowars

Health, LLC), and Prison Planet TV, LLC. To the extent that Attorneys Norman A. Pattis, 1

Kevin M. Smith, and Zachary Reiland and the law firm of Pattis & Smith, LLC have



1 Attorney Pattis was formerly lead counsel in this matter for the Defendants. Due to
difficulties in processing his e-filing registration for this court, he did not file a formal
appearance despite signing initial pleadings, but the undersigned represents that, to the
best of his knowledge, Attorney Pattis is a member of the District of Connecticut’s bar in
good standing.
                                                 1
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appeared in the underlying action and their apperances are recognized in this matter, the

undersigned respectfully moves that the Court include them in its order granting this

motion to withdraw as all are members of the law firm of Pattis & Smith, LLC.

      In support of this motion, the undersigned represents as follows:

      1.     I am an attorney with the law firm of Pattis & Smith, LLC duly licensed to

practice law before all Connecticut state and federal courts.

      2.     I represented Defendants Alex Jones, Free Speech Systems, InfoW, LLC

(f/k/a Infowars, LLC), IWHealth, LLC (f/k/a Infowars Health, LLC), and Prison Planet TV,

LLC in the Connecticut state civil action that was removed to this Court by virtue of a

personal appearance in addition to my firm’s formal appearance.

      3.     Per Connecticut practice, Attorneys Norman A. Pattis, Kevin M. Smith, and

Zachary Reiland also represented Defendants Alex Jones, Free Speech Systems, InfoW,

LLC (f/k/a Infowars, LLC), IWHealth, LLC (f/k/a Infowars Health, LLC), and Prison Planet

TV, LLC by virtue of an appearance on behalf of our law firm, Pattis & Smith, LLC.

      4.     The Defendants Alex Jones, Free Speech Systems, InfoW, LLC (f/k/a

Infowars, LLC), IWHealth, LLC (f/k/a Infowars Health, LLC), and Prison Planet TV, LLC

have discharged the undersigned, his colleagues, and the law firm of Pattis & Smith, LLC.

      5.     Pursuant to Connecticut Rule of Professional Conduct 1.16(a)(3), the

undersigned and his colleagues’ withdrawal is mandatory.

      6.     The undersigned and his colleagues have provided the Defendants’ Texas

counsel with referrals to competent members of the Court’s bar and Connecticut’s bar to

replace them.




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        7.    The undersigned and his colleagues’ motion to withdraw does not violate

the automatic stay imposed by the Bankruptcy Code (11 U.S.C. § 362 et seq.) because

it is not a proceeding “against the debtor.”

        Thus, the undersigned respectfully requests the Court to grant the motion to

withdraw. 2



Date: May 9, 2022                         Respectfully Submitted,


                                          By: /s/ Cameron L. Atkinson /s/
                                          Cameron L. Atkinson (ct31219)
                                          PATTIS & SMITH, LLC
                                          383 Orange Street
                                          New Haven, CT 06511
                                          V: 203-393-3017
                                          F: 203-393-9745
                                          catkinson@pattisandsmith.com




2 Judge Barbara Bellis of the Connecticut Superior Court previously issued an order in
this case directing counsel to file motions to withdraw their appearance if they became
necessary instead of simply having successor counsel file in lieu of appearances as is
permissible under Connecticut practice.

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                                CERTIFICATE OF SERVICE

     I hereby certify that on the date of filing, a true and correct copy of the foregoing
document was served by U.S.P.S. and, where indicated, email on the following parties:

 Attn: Eric Goldstein, Jessica M. Signor             Attn: Mario Kenneth Cerame
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 egoldstein@goodwin.com                              mcerame@brignole.com
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                                                     Jordan & Ortiz, P.C.
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                                                     Burnsville, MN 55337
 Attn: Eric Henzy
 Zeisler & Zeisler P.C.
 10 Middle Street, 15th Floor
 Bridgeport, CT 06604
 ehenzy@zeislaw.com


       The undersigned further certifies that a copy of this motion was served on the
Defendants Alex Jones, Free Speech Systems, InfoW, LLC (f/k/a Infowars, LLC),
IWHealth, LLC (f/k/a Infowars Health, LLC), and Prison Planet TV, LLC by priority U.S.
mail. Out of respect for the Defendants’ oft-stated interests, the undersigned does not list
their addresses.



                                                              /s/ Cameron L. Atkinson /s/
                                                              Cameron L. Atkinson




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